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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


IN RE:                                             )   CHAPTER 11
                                                   )
JAMES EDWARD CARTER, IV                            )   CASE NO. 18-68479-PMB
                                                   )
             DEBTOR                                )
                                                   )

                            NOTICE OF APPEARANCE



      Comes now Shawna Staton and gives notice of her appearance on behalf of Nancy

J. Gargula, United States Trustee for Region 21.

      Date: May 19, 2020.



                                  NANCY J. GARGULA
                                  UNITED STATES TRUSTEE, REGION 21

                                  /s/ Shawna Staton
                                  Shawna Staton
                                  Georgia Bar No. 640220
                                  United States Department of Justice
                                  Office of the United States Trustee
                                  Suite 362, Richard B. Russell Building
                                  75 Ted Turner Drive, S.W.
                                  Atlanta, Georgia 30303
                                  Phone: 404-331-4437, Ext. 152
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